CaSe: 2217-CV-OO720-EAS-EPD DOC #Z 46-8 Filed: 11/16/18 Page: l Of 4 PAGE|D #Z 972

EXHIBIT 7

CaSe: 2:17-CV-OO720-EAS-EPD DOC #: 46-8 Filed: 11/16/18 Page: 2 Of 4 PAGE|D #: 973
11!15/2018 Hu|k Hogan Sex Tape EarnedGawker Up To $15N|, .}ury Tc|c| - |`_aw360

l§‘;g;]_plgyn]ent
Energy

Exp_ert Analy§i§
lnsurance
intellectual Pro perm
ifroduct Ldiabil j§y
Securities

Rankings

Regional Poy~;erhouses
La 360‘ M P

Glass Cei] ing Report
Global 20
LaWB 60 400
Diversij;y §11¢;]9§119;

"1c i Gr u S e Yea‘
Rising Stars
Titans of the Piai11ti‘tifs Bar
Site Menu
loin the Law3 60 team
Search legal iobs
Leam more about LaWB §O
Read testimonia|s
C n t `
Si.gn up for our newsletters
Site i\/iap
H_€lp

. l . I . l . l l l l l . l l l . l l l . . l . I l

We use cookies on this site to enable your digital experience By continuing to use this site, you are agreeing to
our cookie policy. close

 

Make sure you don't miss any Lavv360 breaking neWS.

Download our plug~in for Chro'me to get §pstongigable, real-time news alerts

Hulk Hogan Sex Tape Earned Gawkcr Up To $151\/.[,
Jury Told

Share us on: By Bran§lon Lowrey_

Law360, Los Angeles (March 11, 2016, 7:43 PM EST) -- Gawker's biog post containing wrestling icon lHulk
Hogan‘s secretly recorded sex tape boosted the news and gossip site's value by $5 million to $15 million by
attracting Web traffic and strengthening its brand, an intellectual property valuation expert told jurors Friday at the
conclusion of the Wrestler's case in Florida court

Jeff Anderson of Consor, an intellectual property asset management tirrn, told jurors in St. Pctersburg that We`b

search data and Gawker's site traffic show an increase in searches for "Gawker" and a spike in the site's unique
visitors Whe'n the Website published the video in October 2012.

https:!/www.|aw360.com/artic|esl?70586/hu!k-hogan-sex~lape-earned-gawker-up-to-'l5m-jury-t0|d 2.'6

CaSe: 2:17-CV-OO720-EAS-EPD DOC #: 46-8 Filed: 11/16/18 Page: 3 of 4 PAGE|D #: 974
11/15!2018 Hulk Hogan Sex Tapa Eamed Gawker Up To $15|`\/|, Jury To|d - Law360

Jeff Anderson of Consor, an intellectual property asset management firm, told jurors in St. Petersburg, Florida that
web search data and Gawker's site traffic show an increase in searches for "Gawker" and a spike in the site's
unique visitors when the website published the video in October 2012.

"The page views that really add the most value are
those that can go viral through social media,
Twitter, Facebook, even on television," Anderson
said. "lt's those provocative stories such as an
exclusive celebrity sex tape of Hulk Hogan that
can drive value."

Anderson said that the website's "fair market
value" is $286 million Another one ofthe
wrestler's experts, digital marketing strate gist
Shanti Shunn, testified that the sex tape on
Gawker's website was played about 4.5 million
times.
Jet`l`Anderson of [P asset management firm Ccnsor testifies in the i'lulk Hogan sex
The I~lul~nbersj graphs and testimony presented to tape case l-`"riday. Video from the Coul'h'ocm Vicw Network.
jurors capped the case by I-Iogan, whose legal
name is Terry Bollea, on the fifth day of trial in his privacy and right of publicity suit over Gawker's publication of
a video showing the pop-culture icon having sex with his best friend's wife in 2006.

Bollea has said he didn't know he was being recorded and is seeking $l()O million.

The video showed a sexual encounter between him and Heather Clem. At the time, Clem was married to disc
jockey Todd Alan Clem, known as Bubba the Love Spcnge, who willingly agreed to the assignation.

Bollea said that he didn't know the Clems were taping the rendezvous at the time. The video was eventually leaked
to third parties and obtained by Gawker, which published excerpts of the footage.

World Wrestling Entertainment I'nc. later fired Bollea amid media reports that the full sex tape captured him using
racist language

Bollea initially sued Gawker in federal court but dropped the case and refiled his privacy claims, including a claim
for misappropriation of the right of publicity, in Florida state court, where he had related claims pending against
Heather and Todd Clem. Bollea Settied With the Clcms out of court but pursued his claims against Gawker.

Experts have said that the case presents some profound questions about freedom of speech and of the press in
an era of relentless celebrity exposure and viral video, where new media companies are testing the lim.its.

At the start of thc trial, Bollea himself took the stand wearing all black, including his trademark do-rag, and
offered heartstring-tugging tales of betrayal and romantic woes _ along with some strange arguments about the
distinction between Bollea the private citizen and Hulk Hogan the ever-public pop culture icon.

In one memgrabic exghange during his cross-examination on Tuesday, Bollea told jurors that Hulk Hogan has a
]O-inch penis, while he, Terry Bollea, does not.

And in a damaging deposition shown to jurors, former Gawker editor A.J. Daulerio said that he wouldn't publish a
sex tape involving a child. When Bollea's attorneys asked him under what age the child would have to be,

])agle!;io guipped, "four."

After Bollea's case wrapped up on Friday, Gawker urged Judge Pamela Campbell to enter a directed verdict. The
website's attorneys argued, among other things, that Bollea failed to show that he had suffered enough to prove his
claims of “extreme emotional distress" and that Gawker founder Nick Denton should not be individually liable for

https;llwww.|aw360.com/artic|esf'/"/O586/nutk-hegan-sex-tape-earned-g awker-up-ic-t 5m-jury-t0|d 3!6

CaSe: 2217-CV-OO720-EAS-EPD DOC #Z 46-8 Filed: 11/16/18 Page: 4 Of 4 PAGE|D #Z 975

ll)"l§/ZU‘|B

Hul|< Hogan Sex Tape Earned Gawker Up To $15|\/|. Jury To|d - LaWBBO

the tape‘s publication because he did not personally publish it.

Campbell denied the motion.

Trial is set to resume on Monday morning, when Gawker will begin presenting its case. A spokeswoman for the
website told reporters in an email Friday night that Gawker will call Daulerio and other employees as witnesses

Bollea is represented by Kenneth G. Turkel and Shane B. Vogt of Bajo Cuva Cohen &; Turkel PA, Charles J.
Harder and lennifer McGrath of Harder Mirell & Ahrams LL_P and David Houston.

Gawker is represented by Gregg D. Thornas and Rachel D. Fugate of Thomas & LoCicerc .PL and Seth D. Berlin,
Michael D. Sullivan, Michael Berry, Alia L. Smith and Paul J. Safier of Levine Su|livan Koch & Schulz LLP.

The case is Bollea v. Gawker l\/Iedia. LLQ et al., case number 12-012447-€1, in the Sixth J udicial Circuit Court of

the State of Florida.
--Editing by Brian Baresch.
Vievy comments

0 Comments

[_§gn l.n To_ C,ommeiit

 

¢ Add to Briefcase
¢ Printa!gle !ersign

¢ Ed'itorial Co ntacts

Related

Scctions
¢ Cy'bersecurity & Er`;vagy
- Florida
~ intellectual Prg_perty
¢ l\/ledia & En.tertainment
¢ Sports
¢ Trials

Law Firms

~ Harder_l\/lirell
¢ [,eyine §ullivan

- Thon as & LoCicero

Companics

¢ l1 acebookr
- Gawker Media .LLC

¢ Twitter lnc.

¢ World Wrestlint! Entertainment. lnc.

https:/lwww. |aw360.com/artic|esl770586/hu|k-hogan-sex-tape~earned~gawker-up-to-l 5m»jury-t0|d

41'6

